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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

U.S. BANK NATIONAL                               §
ASSOCIATION, AS TRUSTEE FOR                      §
CSMC MORTGAGE-BACKED TRUST                       §
2007-3, and PHH MORTGAGE                         §
CORPORATION, INDIVIDUALLY                        §
AND AS SUCCESSOR-IN-INTEREST                     §
TO OCWEN LOAN SERVICING, LLC,                    §
                                                 §
       Plaintiffs,                               §           Civil Action No. 4:19-cv-2402
                                                 §
v.                                               §
                                                 §
JOSEF M. LAMELL aka J.M. ARPAD                   §
LAMELL,                                          §
                                                 §
       Defendant.                                §

                        NOTICE CONCERNING REFERENCE TO
                        UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. §626(c), Federal Rules of Civil Procedure

73, and the Local Rules of the United States District Court for the Southern District of Texas, the

Plaintiffs U.S. Bank National Association, as Trustee for CSMC Mortgage-Backed Trust 2007-3

(“U.S. Bank”) and PHH Mortgage Corporation, Individually and as Successor-in-Interest to

Ocwen Loan Servicing, LLC (“PHH” and together with U.S. Bank, “Plaintiffs”), hereby decline

to consent to proceed before United States Magistrate Judge Christina A. Bryan.




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                                                 Respectfully submitted,

                                               By: /s/ Mark D. Cronenwett
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                                               ATTORNEYS FOR PLAINTIFFS



                               CERTIFICATE OF SERVICE

     The undersigned certifies that on July 27, 2022, a true and correct copy of the foregoing
document was delivered via electronic mail to the following:

       Josef M. Lamell aka J.M. Arpad Lamell
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                                                   /s/ Mark D. Cronenwett
                                                  MARK D. CRONENWETT




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